United States District Court

Northern District of California

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

Dow Mae Comas ,

No. C /G- #705 TEH
Plaintiff,

V. ORDER FOR PRETRIAL
PREPARATION

Defendant.

 

 

Good cause appearing, IT IS HEREBY ORDERED that:

1. TRIAL DATE. Trial before the COURTGURYWvill begin in Courtroom No. 2 on
LEY Lb, LCy / at 9:00 AM. If the Court advises counsel that they must be
prepared to go to trial on a trailing basis, then the trial will begin as soon after the scheduled

date as possible. The trial shall last for an estimated & trial days. The trial of liability

and damages issues SHALLASHALL NO}]) be separate.

2. PRETRIAL CONFERENCE. The Court will hold a pretrial conference on Monday,
LAY = ZOl 7 , at 3:00 PM. Counsel who intend to try the case must attend the

pretrial conference.

3: DISCOVERY.
(a) Discovery Cutoff. All discovery, except for depositions of expert witnesses,
shall be completed on or before Div 2 40/7 __. All depositions of expert

witnesses shall be completed no later than 7 calendar days before the pretrial conference.

TEH Order for Pretrial Preparation (Civil) (Rev. 05/14)

 
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(b) Disclosures Regarding Expert Witnesses. Plaintiffs shall comply with Federal
Rule of Civil Procedure 26(a)(2)(A) (i.e., disclose the identity of any person who may be
used at trial to present expert testimony) no later than t5" calendar days before the pretrial
conference. Defendants shall disclose the identity of their expert witnesses no later than
70 __ calendar days before the pretrial conference. The parties shall comply with the written
report requirements of Federal Rule of Civil Procedure 26(a)(2)(B) within 14 calendar days
of disclosing the identity of their experts. Failure to comply with these deadlines will prevent

a witness from testifying as an expert.

(c) Discovery Disputes. Unless otherwise ordered by the Court, all discovery matters
are hereby referred for assignment to a magistrate judge. Please call the Courtroom Deputy
at (415) 522-2047 to obtain a random assignment to a specific Magistrate Judge before filing

any papers relating to discovery.

4, PRETRIAL MOTIONS (EXCEPT MOTIONS IN LIMINE).

The parties should file pretrial motions to resolve any purely legal substantive issues.
Such issues may not be resolved by motions in limine (see page 6, paragraph 6(a)). Any
party that attempts to resolve a purely legal substantive issue by a motion in limine, or
by any motion filed after the deadline below, may expect the imposition of substantial
sanctions for failure to comply with this order.

All pretrial motions, except motions in limine, shall be heard no later than 45 calendar
days before the scheduled trial date. Accordingly, all such motions must be noticed for

hearing no later than Monday, “ALWY_4Z LY/7 _. They must be filed at least 35 days

 

in advance of the hearing date, or no later than Monday, Aé2_ 4: é 2/7. Civ.
L.R. 7-2(a).

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Northern District of California

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5. PRETRIAL CONFERENCE STATEMENT.

(a) Required Meeting and Disclosure Prior to Pretrial Conference. Lead
counsel who will try the case shall meet and confer on or before LLLLL YL, ZO” _(at
least 30 calendar days before the pretrial conference). At that time, they shall discuss:

(1) Prospects for settling the action; |

(2) The preparation and content of the joint pretrial conference statement;

(3) The preparation and exchange of pretrial materials to be served and lodged
ith the Court; and |

(4) Resolution of any differences between the parties regarding items (2) and (3)
above. To the extent such differences are not resolved, the parties must present the issues in
the joint pretrial conference statement so that the Judge may rule on the disputes at the
pretrial conference.

Within one week after meeting and conferring, the parties shall file a joint statement,

signed by all counsel, stating that they have met and conferred on the above issues.

‘(b) Joint Pretrial Conference Statement. The parties shall file a joint pretrial
conference statement no later than 10 calendar days before the pretrial conference. Ifthe
parties disagree over the wording of the statement, each party may state its position in its own
words. All parties or their counsel must sign the statement. The statement shall contain the
following information:

(1) The Action.
(A) Substance of the Action. A brief description of the substance of
claims and defenses that remain to be decided.
(B) Relief Prayed. A detailed statement of the relief claimed, including
an itemization of all claimed damages, along with a list of witnesses, documents, or other

evidentiary material to be presented on the amount of damages.

TEH Order for Pretrial Preparation (Civil) 3 (Rev. 05/14)

 
United States District Court

Northem District of California

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(2) The Factual Basis of the Action.

(A) Undisputed Facts. A plain and concise statement of all relevant facts
not reasonably disputable. This should include a statement of facts which the parties
stipulate may be incorporated into the trial record without supporting testimony or exhibits.

(B) Disputed Factual Issues. A plain and concise statement of all
disputed factual issues that remain to be decided.

(C) Agreed Statement. A statement assessing whether all or part of the
action may be presented upon an agreed statement of facts.

(D) Stipulations. A statement of stipulations requested or proposed for

pretrial or trial purposes.

(3) Trial Preparation.
(A) Estimate of Trial Time. An estimate of the number of court days

needed for the presentation of each party’s case, indicating possible reductions in time
through proposed stipulations, agreed statements of facts, or expedited means of presenting .
testimony and exhibits.

(B) Witnesses to be Called. A list of all witnesses likely to be called at
trial, other than solely for impeachment or rebuttal, together with a brief statement following
each name describing the substance of the testimony to be given. Parties must indicate any
objections to the use of the listed witnesses and shall certify that counsel have met and
conferred regarding such objections. No party shall be permitted to call any witness in their
case in chief that is not disclosed in the pretrial conference statement unless the Court grants
leave for good cause shown.

(C) Use of Discovery Responses. A list of evidence that may be presented
at trial, other than solely for impeachment or rebuttal, through use of excerpts from
depositions, interrogatory answers, or responses to requests for admission. Parties must
indicate any objections to use of these materials and shall certify that counsel have met and

conferred regarding such objections.

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United States District Court

Northern District of California

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(D) Exhibits, Schedules, and Summaries. A list of all documents and
other items to be offered as exhibits at the trial, other than solely for impeachment or rebuttal,
with a brief statement following each item describing its substance or purpose and the
identity of its sponsoring witness. The statement shall include a list of all exhibits that the
parties agree may be admitted into evidence. Parties must indicate any objections to the
receipt in evidence of the listed exhibits and shall certify that counsel have met and conferred
regarding such objections. No party shall be permitted to introduce any exhibit in their case
in chief that is not disclosed in the pretrial conference statement unless the Court grants leave
for good cause shown. a

(E) Further Discovery or Motions. A statement of all outstanding

discovery or motions, including motions in limine.

(4) Trial Alternatives and Options.

(A) Settlement Discussion. A statement summarizing the status of
settlement negotiations and indicating whether further negotiations are likely to be
productive. .

(B) Consent to Trial Before a Magistrate Judge. A statement explaining
whether reference of all or part. of the action to a special master or magistrate judge is
feasible, including whether the parties consent to a court or jury trial before a magistrate
judge with appeal directly to the Ninth Circuit.

(C) Amendments or Dismissals. A statement of requested or proposed
amendments to pleadings or dismissals of parties, claims, or defenses.

(D) Bifurcation of Issues. A statement of whether bifurcation (i.e.,

separate trials) of specific issues is feasible and desired.

(5) Miscellaneous. Any other subjects relevant to the just, speedy, and

inexpensive resolution of this action.

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United States District Court

Norther District of California

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(c) Pretrial Order. The Court may, as appropriate, make pretrial orders at or
following the pretrial conference. Such orders shall control the subsequent course of the

action as provided in Federal Rule of Civil Procedure 16.

6. TRIAL PREPARATION DEADLINES.

(a) Motions in Limine. The only appropriate purpose for a motion in limine is to
obtain, in advance of trial, an evidentiary ruling on the admissibility of a specific piece of
evidence. Unless otherwise allowed by the Court, all motions in limine shall be filed no later
than 21 calendar days before the scheduled trial date, and written opposition to such motions
shall be filed no later than 14 calendar days before the trial date. All motions in limine must
be accompanied by a declaration stating that counsel have met and conferred in good
faith regarding the motions prior to their filing, and that the parties are unable to

resolve informally any remaining disputes.

(b) Exhibits. Two sets of all exhibits to be offered at trial, together with a list of |
exhibits, shall be lodged with the Court no later than 7 calendar days before the scheduled
trial date. Exhibits must be placed in three-ring binders of no more than three inches each

and must be pre-marked in accordance with the attached forms.

(c) Objections to Evidence. Counsel shall meet and confer with respect to any
evidentiary objections in advance of the pretrial conference. They shall advise the Court at
the pretrial conference if any objections contained in their joint pretrial conference statement

have been subsequently resolved.

(d) Jury Instructions. Ifa jury trial has been demanded, the parties shall meet and
confer to discuss proposed jury instructions. The Court uses its own set of standard
instructions regarding the role of jurors, organization of the jury, communication with the

Court, etc., and the parties need not discuss such instructions during their meeting and

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United States District Court

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conferring. No later than 10 calendar days before the pretrial conference, the parties shall
file (a) proposed jury instructions upon which all parties have agreed and (b) jury instructions
upon which any other party does not agree. The proposed jury instructions must be
accompanied by a declaration stating that the parties have met and conferred in good faith in
an attempt to agree upon as many jury instructions as possible. The chambers copies of all
proposed jury instructions shall be accompanied by an electronic copy of the instructions in
Word or Word Perfect format.

For each disputed instruction, the offering party shall indicate the corresponding
instruction(s), if any, being proposed by other parties. The parties shall file written
objections to all disputed instructions no later than 7 calendar days before the scheduled trial
date.

All proposed jury instructions shall be concise and free from argument; cover only one
subject to be indicated in the caption; show the identity of the offering party; be typewritten
out in full on a separate page or pages; be consecutively numbered; and set forth specific
citations to supporting authority. Case citations must include pinpoint citations to the exact

page or pages that support the proposed instruction.

(e) Voir Dire. Ifa jury trial has been demanded, the parties may, at their option,
submit proposed questions for voir dire. Any such questions must be filed no later than 10

calendar days before the pretrial conference.

(f) Special Verdict Forms. Ifa jury trial has been demanded, the parties shall meet
and confer to discuss any desired special verdict forms. The parties shall follow the

procedure outlined in paragraph 6(d) in filing their proposed verdict forms.

7. TRANSCRIPTS. Arrangements must be made with the Courtroom Deputy at least
14 calendar days before the scheduled trial date if the parties desire daily transcripts and/or

realtime reporting.

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United States District Court

Northern District of California

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8. SETTLEMENT CONFERENCE. The partief SHALI/ SHALL NOT arrange for a
mandatory settlement conference before Magistrate Judge M@eiA-ElewA Vaméf this Court.
This conference shall be scheduled to take place no later than 5 calendar days before the

pretrial conference.

9, FURTHER CASE MANAGEMENT CONFERENCE, A further case management
conference will be held on Monday, a , at 1:30 PM.

10. PROCEDURE FOR AMENDING THIS ORDER. No provision of this order may
be changed except by written order of this Court. The Court may enter such an order upon its
own motion or upon motion of one or more of the parties. The parties must make any such
motion in accordance with the Civil Local Rules and with a demonstration of very good
cause. The mere fact that the parties have stipulated to a change does not constitute good

cause, nor does a conflict with a court date set after the date of this order.

IT ISSO ORDERED.

Dated: (928/ 29 eet (i A

THELTON E-HENDERSON, JUDGE
UNITED STATES DISTRICT COURT
The parties request the Court to make the foregoing order.

Attorney(s) for Plaintiff(s): Attorney(s) for Defendant(s):

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United States District Court

Northern District of California

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UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

 

 

CASENO.C_~ - TEH DATE:
v.
EXHIBIT LIST
( ) Plaintiff ( ) Defendant
EXHIBIT MARKED ADMITTED DESCRIPTION OF EXHIBIT

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TEH Order for Pretrial Preparation (Civil)

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United States District Court

Northern District of California

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